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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                                           :
Robert DeSanto,                            :
                                           :
                                           :
                   Plaintiff,              :
                                             Civil Action No.: 3:10-cv-06509-JAP -LHG
        v.                                 :
                                           :
Enhanced Recovery Corporation; and DOES 1- :
10, inclusive,                             :
                                           :
                                           :
                   Defendant.              :

                                 NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of voluntary dismissal pursuant to FED. R.

CIV. P. 41(a) within 30 days.


Dated: March 21, 2011

                                              Respectfully submitted,

                                              By: /s/ Sofia Balile

                                              Sofia Balile, Esq.
                                              Lemberg & Associates LLC
                                              1100 Summer Street
                                              Stamford, CT 06905
                                              Phone: (917) 981-0849
                                              Fax: (203) 653-3424
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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 21, 2011, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court District of New Jersey
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                             By_/s/ Sofia Balile_________

                                                     Sofia Balile
